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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


SNYDERS HEART VALVE LLC,                             §
                                                     §
       Plaintiff,                                    §
                                                     §
v.                                                   §   Case No. 4:16-cv-00812-ALM-KPJ
                                                     §
ST. JUDE MEDICAL S.C., INC., ET AL.,                 §
                                                     §
       Defendants.                                   §

                          REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

       Before the Court is Defendants St. Jude Medical S.C., Inc., St. Jude Medical, Cardiology

Division, Inc., and St. Jude Medical, LLC’s (collectively, “Defendants”) Motion for Summary

Judgment of Improper Venue (the “Motion for Summary Judgment”) (Dkt. 178). Plaintiff Snyders

Heart Valve LLC (“Plaintiff”) filed a response in opposition (Dkt. 184); Defendants filed a reply

(Dkt. 192); and Plaintiff filed a sur-reply (Dkt. 193). After considering the Motion, the responses,

the relevant authorities, and the oral argument on December 18, 2017, the Court finds the Motion

for Summary Judgment (Dkt.178) should be GRANTED.

                    I. FACTUAL AND PROCEDURAL BACKGROUND

       On October 25, 2016, Plaintiff filed this lawsuit alleging Defendants’ Portico transcatheter

aortic valve system (the “Portico Products”) infringe U.S. Patent No. 6,540,782 (the “‘792

Patent”), titled “Artificial Heart Valve,” issued on April 1, 2003, and U.S. Patent No. 6,821,297,

(the “‘297 Patent”), titled “Artificial Heart Valve, Implementation Instrument and Method

Therefor,” issued on November 23, 2004. The Portico Products are currently in Food and Drug

Administration (“FDA”) clinical trials to obtain approval for sales in the United States. See Dkt.

178 at 7. Commercial sales and marketing of the Portico Products in the United States prior to

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FDA approval are prohibited. Id. The Heart Hospital Baylor Plano, which is located in the Eastern

District of Texas (the “District”), is one of several clinical trial sites for the Portico Products. Id.

As of March 30, 2017, there were ten sales to The Heart Hospital Baylor Plano for clinical trials.

Id. Defendants assert they have not made, used, sold, or offered for sale, or imported, in or from

the District, any Portico Products for commercial purposes. Id. Defendants further assert the

Portico Products were designed and manufactured only in Minnesota and were distributed

internationally only from Minnesota. Id. at 8. These facts are either undisputed by Plaintiff, or if

disputed, the disputes are immaterial. See Dkt. 184 at 17-19.

       Defendants filed a Motion to Dismiss for Improper Venue (the “Motion to Dismiss”) (Dkt.

33), which was denied on May 12, 2017. See Dkt. 98. Based on prevailing law at the time, the

Court found that venue was proper because Plaintiff had made a prima facie showing that

Defendants would be subject to personal jurisdiction in this District. Id. (citing VE Holding Corp.

v. Johnson Gas Appliance Co., 917 F.2d 1574, 1578 (Fed. Cir. 1990) abrogated by TC Heartland

LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514 (2017). Under VE Holding, “venue in a

patent infringement case include[d] any district where there would be personal jurisdiction over

the corporate defendant at the time the action [ ] commenced.” VE Holding, 917 F.2d at 1583.

       Just ten days after the Court denied Defendants’ Motion to Dismiss, the Supreme Court

decided TC Heartland, reversed the Federal Circuit’s decision in VE Holding, and reiterated its

holding in Fourco Glass Co. v. Transmirra Prods. Corp., 353 U.S. 222, 229 (1957), providing that

“§ 1400(b) is the sole and exclusive provision controlling venue in patent infringement actions [ ]

and that it is not to be supplemented by the provisions of 28 U.S.C. § 1391(c).” TC Heartland, 137

S. Ct. at 1520 (citations omitted).




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         TC Heartland did not address the second prong of § 1400(b), which makes venue proper

in any judicial district “where the defendant has committed acts of infringement and has a regular

and established place of business.” 28 U.S.C. § 1400(b). “Thus, post-TC Heartland, venue is

proper in the case of a corporate patent defendant where, (a) the corporation is incorporated, or (b)

the defendant has committed acts of infringement and has a regular and established place of

business.” iLife Techs., Inc. v. Nintendo of Am., Inc., 2017 WL 2778006, at *4 (N.D. Tex. 2017).

         On May 30, 2017, Defendants filed a “Motion to Reconsider the Court’s May 12, 2017

Order Denying St. Jude’s Motion to Dismiss for Improper Venue (Dkt. 98) and St. Jude’s Renewal

of Same” (the “Motion to Reconsider”) (Dkt. 110, Sealed). In the Motion to Reconsider,

Defendants argued that venue is improper under either prong of § 1400(b) because no defendant

resides in and no acts of infringement occurred in this District. See Dkt. 110, Sealed, at 11.

Defendants also argued that to the extent any sales of accused products occurred in this District,

those sales are subject to the safe harbor provision of 35 U.S.C. § 271(e)(1).

         The undersigned subsequently entered a report and recommendation (the “Report”) (Dkt.

165) containing proposed findings of fact and conclusions of law and recommending the Motion

to Reconsider (Dkt. 110, Sealed) be denied. Because the first prong of § 1400(b) does not apply to

Defendants,1 the Report focused primarily on the second prong: whether the alleged infringement

occurred in this District. In this case, the second prong turns on whether all sales of the accused

products in the District are subject to the safe harbor provided in § 271(e)(1). Finding that by

asserting the protection of the safe harbor statute Defendants have asserted an affirmative defense,




1
  The Motion to Reconsider asserted (and Plaintiff did not controvert) that St. Jude Medical S.C., Inc., is incorporated
in Minnesota; St. Jude Medical, Cardiology Division Inc., is incorporated in Delaware; and St. Jude Medical, LLC, is
organized under the laws of Delaware. See Dkt. 110. As explained above, TC Heartland makes clear that for purposes
of the first prong of § 1400(b), “in the case of a corporate defendant, venue is proper where the corporation is
incorporated.” TC Heartland, 137 S. Ct. at 1521.

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and Plaintiff should not be required to negate an affirmative defense, the Report concluded that

the issue could not be decided at the motion to dismiss stage. See Dkt. 165. As the Report

explained, the safe harbor statute is not a blanket exemption if there are “factual questions” and

“other challenged activities.” See Dkt. 165 (citing Amgen, Inc. v. Int’l Trade Comm’n, 565 F.3d

846, 854 (Fed. Cir. 2009)). The Report was adopted by United States District Judge Amos L.

Mazzant, III, on October 12, 2017, and thus, became the findings and conclusions of the Court.

See Dkt. 188. Subsequent to the filing, but prior to the adoption of the Report, Defendants filed

the present Motion for Summary Judgment.

                                  II. LEGAL STANDARD

       Summary judgment is appropriate when, viewing the evidence and all justifiable inferences

in the light most favorable to the non-moving party, there is no genuine issue of material fact and

the moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(c); Hunt v.

Cromartie, 526 U.S. 541, 549 (1999). The appropriate inquiry is “whether the evidence presents

a sufficient disagreement to require submission to a jury or whether it is so one-sided that one party

must prevail as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986).

       The party moving for summary judgment has the initial burden to prove there are no

genuine issues of material fact for trial. Provident Life & Accident Ins. Co. v. Goel, 274 F.3d 984,

991 (5th Cir. 2001). In sustaining this burden, the movant must identify those portions of

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, which it believes demonstrate the absence of a genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). The moving party, however, “need not negate

the elements of the nonmovant’s case.” Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir.




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1994) (en banc). The movant’s burden is only to point out the absence of evidence supporting the

nonmoving party’s case. Stults v. Conoco, Inc., 76 F.3d 651, 655 (5th Cir. 1996).

        In response, the nonmovant’s motion “may not rest upon mere allegations contained in the

pleadings, but must set forth and support by summary judgment evidence specific facts showing

the existence of a genuine issue for trial.” Ragas v. Tennessee Gas Pipeline Co., 136 F.3d 455,

458 (5th Cir. 1998) (citing Anderson, 477 U.S. at 255-57). Once the moving party makes a

properly supported motion for summary judgment, the nonmoving party must look beyond the

pleadings and designate specific facts in the record to show there is a genuine issue for trial. Stults,

76 F.3d at 655. The citations to evidence must be specific, as the district court is not required to

“scour the record” to determine whether the evidence raises a genuine issue of material fact. E.D.

TEX. LOCAL R. CV-56(d). Neither “conclusory allegations” nor “unsubstantiated assertions” will

satisfy the nonmovant’s burden. Stults, 76 F.3d at 655.

                                   III. EVIDENCE PRESENTED

        Defendants have submitted the following evidence in support of their Motion for Summary

Judgment:

        1) Exhibit A: Excerpts from the deposition of Richard Olson (“Olson”)2 taken on May 9,
           2017 (the “Olson Depo.”);

        2) Exhibit B: Copy of the court order in Prolacta Bioscience, Inc. v. Ni-Q, LLC, CV 17-
           04071 SJO (Ex), Central District of California, August 7, 2017;

        3) Exhibit C: Declaration of Richard Olson accompanied by the following exhibits:

                 a. Exhibit 1: News Release titled, “St. Jude Medical Announces First Implants in
                    US Study of the Portico Transcatheter Aortic Heart Valve System;”

                 b. Exhibit 2: Excerpt from the 10-Q submitted by St. Jude Medical, Inc. to the
                    Securities and Exchange Commission in November 2016;

2
  Olson is the Divisional Vice President, Product Development, which is the entity that acquired the three Defendants
in this case: St. Jude Medical, Cardiology Division Inc.; St. Jude Medical S.C., Inc.; and St. Jude Medical, LLC. See
Dkt. 178-4, Sealed.

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                 c. Exhibit 3: Annual Progress Report for Portico™ Re-Sheathable Transcatheter
                    Aortic Valve System US IDE Trial;

                 d. Exhibit 4: Copy of printouts of the clinicaltrials.gov website for the trial,
                    "Portico Resheathable Transcatheter Aortic Valve System US IDE Trial
                    (PORTICO IDE);”

                 e. Exhibit 5: Copy of Packing Lists, showing shipments of the PorticoTM
                    products to The Heart Hospital Baylor Plano from St. Jude Medical S.C., Inc.;

See Dkts. 178-2-178-10, Sealed.

        Plaintiff has submitted the following evidence in opposition to Defendants’ Motion for

Summary Judgment:

        1) Exhibit 1: September 2017 Stipulation of Plaintiff and Defendants;

        2) Exhibit 2: Sanders v. Johnson, Civil Action N. H-04-881, Southern District of Texas,
           Houston Division, September 26, 2005;

        3) Exhibit 3: March 2017 Stipulation of Plaintiff and Defendants;

        4) Exhibit 4: Excerpts from the Olson Depo.;

        5) Exhibit 5: Sales Spreadsheet;

        6) Exhibit 6: Excerpts from the deposition of Aaron Staloch (“Staloch”)3 taken on June
           15, 2017 (the “Staloch Depo.”);

        7) Exhibit 7: Defendants’ responses to Plaintiff’s First Set of Interrogatories;

        8) Exhibit 8: Printout from St. Jude website listing headquarters in Plano, Texas; and

        9) Exhibit 9: Printout from KDC Website.

See Dkts. 184-2-184-9, Sealed.

                                             IV. ANALYSIS

        Although Plaintiff raises a number of procedural challenges to Defendants’ Motion for

Summary Judgment (see Dkt. 184 at 6-11), the Court finds that summary judgment in this case




3
 Although not entirely clear based on the excerpts provided, Staloch appears to be a 30(b)(6) designee of
Defendants. See Dkt. 184-6, Sealed

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turns on the legal issue of the relevance of the § 271(e)(1) safe harbor defense in determining

whether venue is proper and whether the safe harbor is an “all-or-nothing” defense. See, e.g., Dkt.

178 at 6; see also Hearing Transcript (“Hrg. Tr.”) at 6. If all of Defendants’ challenged activities

in the District are covered by the safe harbor, there can be no acts of infringement in the District,

and venue is thus improper. On this basis, Defendants seek to have the case dismissed or

transferred to the District of Minnesota. See Dkt. 178.

         Plaintiff counters that § 271(e)(1) is irrelevant for purposes of determining whether venue

is proper and takes the position that its allegations of infringing activity in the District—as required

under §1400(b)—are sufficient to defeat summary judgment of Defendants’ safe harbor defense.

See Dkt. 184 at 12. Plaintiff also argues that because the clinical trials safe harbor is all or nothing,

Defendants’ commercial activity outside this District effectively revokes the safe harbor protection

for activities in this District. Id. As will be explained below, Plaintiff’s argument is not supported

by the law. The Federal Circuit has made clear that for purposes of the safe harbor, each accused

activity must be analyzed separately. See Amgen, 565 F.3d 846.

         A. PLAINTIFF’S PROCEDURAL CHALLENGES TO THE MOTION

         Plaintiff argues that Defendants’ Motion for Summary Judgment is procedurally improper

and untimely. Plaintiff first argues—incorrectly—that the Court’s findings and conclusions in the

Report (Dkt. 165) foreclosed further briefing on the issue of acts of infringement in the District.

See, e.g., Dkt. 184 at 10. However, nothing stated in the Report prevents Defendants from

establishing on summary judgment what they could not establish at the motion to dismiss stage.

In fact, the opposite is true.4 Nor does the Report purport to resolve Defendants’ venue challenge


4
 Analyzing Ventrassist Pty Ltd. v. Heartware, Inc., 377 F. Supp. 2d 1278, 1287 (S.D. Fla. 2005), the Report concluded
that even though Ventrassist was decided on a Rule 12(b)(6) motion for failure to state a claim, rather than a 12(b)(3)
motion to dismiss for improper venue, its reasoning still applied on the issue of overcoming an affirmative defense.
See Dkt. 165 at 10.

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on the merits as Plaintiff asserts. See Dkt. 184 at 10. The Report states that at the motion to dismiss

stage, “[P]laintiff is entitled to conduct discovery” and “should not have to negate Defendants’

affirmative defense to overcome [a] venue challenge.” Dkt. 165 at 10.

       Plaintiff has now taken discovery and must demonstrate there is evidence that at least some

of Defendants’ activities in this District fall outside the safe harbor. “Where the jurisdictional issue

cannot be decided without the ruling constituting at the same time a ruling on the merits of the

case, the case should be heard and determined on its merits through regular trial procedure.”

McBeath v. Inter-Am. Citizens for Decency Comm., 374 F.2d 359, 363 (5th Cir. 1967). Thus,

contrary to Plaintiff’s position, it is appropriate to take up the venue issue again now, and

Defendants are entitled to ask for a determination on the merits with respect to § 271(e)(1).

       Furthermore, nothing in the law suggests that venue should not be revisited once a

noninfringement determination is made on the merits. Federal Rule of Civil Procedure 56 clearly

permits affirmative defenses to be raised in a motion for summary judgment. FED. R. CIV. P. 56(a)

(”A party may move for summary judgment, identifying each claim or defense on which summary

judgment is sought.”). In Dow Chemical Co. v. Monsanto Co., 315 F. Supp. 416, 418-19 (S.D.

Ohio 1970), the court rejected the plaintiff’s argument that a preliminary determination “sets at

rest that question forever.” Id. at 419. “[W]hen the fact of noninfringement appears on the record,

venue is deficient and the case must be dismissed.” Id.

       As the Dow court explained, there is a distinction between “preliminary examination” of

venue at the motion to dismiss stage and “subsequent findings” based on the merits (which is the

case here). The Dow court also observed that it is not unusual for “a preliminary determination of

pro infringement” to be “followed by a merit determination of noninfringement.” Id. at 418 (as is

also the case here). The Dow court initially determined that it had jurisdiction and venue but later



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held a separate trial on the issue of whether the defendant’s activity in the district infringed, and

concluded there was no infringement in the district, and thus, venue was improper. Id.

       Plaintiff argues in its response that Dow has no bearing on the present case based on the

Federal Circuit’s holding in In re Cordis Corp., 769 F.2d 733 (Fed. Cir. 1985), cert. denied, 474

U.S. 851. See Dkt. 184 at 8-9. Plaintiff contends that In re Cordis stands for the proposition that

“the issue of infringement is not reached on the merits in considering venue requirements.” Id. at

9. Plaintiff misconstrues the Federal Circuit’s holding, as the court did not hold that infringement

is never reached on the merits in a venue determination.

        In re Cordis involved a motion to dismiss for improper venue. The question before the

Federal Circuit was whether venue was proper in a district where the defendant corporation had

no “specific permanent physical location” but employed two full-time sales representatives who

maintained home offices. In re Cordis, 769 F.2d at 736. Thus, the issue of infringement on the

merits was not before the court, which is why the court “express[ed] no opinion on whether there

ha[d] been infringement.” Id. at 737. As the Federal Circuit stated, “that is a question to be

determined at trial”—or otherwise on the merits. Id. As explained above, a merit determination

may lead to disposition on the merits based on “subsequent findings” after a “preliminary

determination” of venue at the motion to dismiss stage. That is the case here, and the Court finds

no disharmony between In re Cordis and Dow.

       Plaintiff also takes issue with Defendants’ reliance on Schroeder v. Owens-Corning

Fiberglas Corp., 326 F. Supp. 594, 597 (C.D. Cal. 1971), arguing this case is also inapplicable.

See Dkt. 184 at 9-10. Although conceding in its response that Schroeder was decided on a motion

for summary judgment of improper venue, Plaintiff attempts to distinguish Schroeder on the basis

that in that case, the defendants’ improper venue defense had not been fully heard on an earlier



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motion. Id. First, Schroeder does appear to reference a prior claim of improper venue, “which was

first asserted by motion prior to [Defendant’s] Answer.” Schroeder, 325 F.Supp at 596-97.

Second, even were that not the case, whether or not there was a prior claim of improper venue is

not the relevant issue here. Rather, Schroeder was cited for the proposition that venue issues can

be decided after the case has advanced past the motion to dismiss stage—and they can be decided

on a merit determination under the second prong of § 1400(b), which states that venue is proper

“where the defendant has committed acts of infringement and has a regular and established place

of business.”

       Plaintiff continues to argue—unpersuasively—that mere allegations of infringement are

sufficient to survive summary judgment here. However, just as in Schroeder, Defendants’

improper venue defense is now ripe for determination on the merits based on whether, pursuant to

§ 1400(b), there is any genuine issue of material fact regarding acts of infringement in the District.

As will be explained below, the answer to that question has now been established by the summary

judgment evidence.

       Other courts have reached similar conclusions when addressing venue after the motion to

dismiss stage. See, e.g, Olberding v. Ill. Cent. R. Co., 346 U.S. 338, 340 (1953) (reversing verdict

for plaintiff after jury trial in an improper venue); Lexecon Inc. v. Milberg Weiss Bershad Hynes

& Lerach, 523 U.S. 26, 41 (1998) (explaining “reversal with new trial is required . . . [where]

venue is precluded by the governing statute”); S.E.C. v. Johnson, 650 F.3d 710, 716 (D.C. Cir.

2011) (reversing judgment after jury trial as remedy for improper venue); Gogolin & Stelter v.

Karn’s Auto Imports, Inc., 886 F.2d 100, 103-05 (5th Cir. 1989) (vacating judgment and

remanding for transfer or dismissal under 28 U.S.C. § 1406(a)).




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       The Court also notes that in opposing Defendants’ Motion for Reconsideration of the

Motion to Dismiss for Improper Venue, Plaintiff relied on Amgen, 565 F.3d 846. See Dkt. 125 at

9; see also Dkt. 165 at 9. Amgen held, inter alia, that when the parties dispute whether the safe

harbor applies as a matter of law, that dispute goes to the merits of the claim. Amgen, 565 F. Supp.

2d at 853-54. Plaintiff cannot now disregard authority that it previously relied on to withstand

Defendants’ 12(b)(6) challenge.

       B. ACTS OF INFRINGEMENT AND THE SECTION 271(E)(1) SAFE HARBOR

       As previously explained, venue is proper under the second prong of § 1400(b) “where the

defendant has committed acts of infringement and has a regular and established place of business.”

Defendants argue that any sales of accused products that occurred in the District are subject to the

safe harbor provision of 35 U.S.C. § 271(e)(1):

       It shall not be an act of infringement to make, use, offer to sell, or sell within the
       United States or import into the United States a patented invention . . . solely for
       uses reasonably related to the development and submission of information under a
       Federal law which regulates the manufacture, use, or sale of drugs or veterinary
       biological products.

35 U.S.C. § 271(e)(1). As one court explained, by enacting the safe harbor provision:

       Congress made a fully self-conscious choice between two directly competing
       interests: continuing full protection of the rights of patent holders, on the one hand,
       and, on the other, assuring access by the public to medically beneficial new
       products at truly competitive market prices (i.e., lower prices) immediately after
       the expiration of the terms of relevant patents.

Intermedics, Inc. v. Ventritex, Inc., 775 F. Supp. 1269 (N.D. Cal. 1991), aff'd sub nom.,

991 F.2d 808 (Fed. Cir. 1993).

       The safe harbor provided by § 271(e)(1) extends to all uses of patented inventions that are

reasonably related to the development and submission of any information under the Federal Food,

Drug, and Cosmetic Act of 1938. Merck KGaA v. Integra Lifesciences I, Ltd., 545 U.S. 193, 202



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(2005); see also, e.g., Momenta Pharm., Inc. v. Teva Pharm. USA Inc., 809 F.3d 610, 619 (Fed.

Cir. 2015) (“[N]otwithstanding the legislative focus on activities occurring prior to the approval

of generic drugs, the § 271(e)(1) exemption applies to medical devices and is not restricted to pre-

approval activities . . . .” (internal citations and quotation marks omitted)).

       As explained above, the safe harbor statute is not a blanket exemption if there are “factual

questions” and “other challenged activities.” See Amgen, 565 F.3d at 854. However, Plaintiff

cannot rest on a mere allegation of infringement at the summary judgment stage. Now that

discovery has been taken, Plaintiff must demonstrate there is evidence that at least some of

Defendants’ activities in this District fall outside the safe harbor. If there is no dispute that all of

Defendants’ activity here consists solely of involvement in a clinical trial statutorily exempted

from infringement under § 271(e)(1), venue is improper. By the statute’s express terms, such

clinical trial activity does not constitute “an act of infringement.” Id.

       Plaintiff’s argument that the safe harbor defense is irrelevant to venue under § 1400(b) (see

Dkt. 184 at 13) is not supported by the law. According to Plaintiff, its mere allegations of infringing

acts in the District make venue proper under § 1400(b), whether or not Defendants ultimately

prevail on the safe harbor defense. See id. Not so. Both the venue statute and the safe harbor statute

speak of “acts of infringement,” not acts of “alleged” infringement, as Plaintiff would have it. If

Plaintiff were right, any venue limitation could be overcome by simply making infringement

accusations in the forum of the plaintiff’s choice, regardless of the defendant’s actual activities in

that particular forum. This is contrary to law. Once the defendant comes forward with evidence

that venue is improper, the plaintiff cannot rely on mere venue allegations in its complaint to

maintain its chosen venue. See Pierce v. Shorty Small’s of Branson Inc., 137 F.3d 1190, 1192 (10th




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Cir. 1998) (well-pleaded facts are accepted as true “only to the extent that such facts are

uncontroverted by defendant’s affidavit”).

         Moreover, the Court has already provided extensive analysis regarding the availability and

applicability of a venue defense on the merits of the infringement claim even if such a claim

survived “a preliminary determination of pro infringement” at the motion to dismiss stage. See

supra Section. IV.A, Dow Chemical Co. v. Monsanto Co., 315 F. Supp. 416.

         Plaintiff has not alleged any facts showing activities in this District other than those

statutorily exempted from infringement by § 271(e)(1). Although Plaintiff argues that Defendants

stipulated to all the necessary facts of infringement (see, e.g., Dkt. 175 at 2), Plaintiff’s argument

does not accurately reflect what is stated in the stipulation. The stipulation states: “Defendants will

not contest in this case that this is a district where Defendants have sold accused products.

(Defendants may, however, argue that any such sales are not acts of infringement, pursuant to 35

U.S.C. 271(e)(1)).” Dkt. No. 43-1 at 1. Therefore, the stipulation does not support Plaintiff’s claim

of proper venue.

         Plaintiff next argues that the safe harbor defense is “all or nothing” and to the extent

Defendants make and sell accused products elsewhere in the United States for commercial

purposes,5 such uses are not “solely for uses reasonably related” to seeking FDA approval and

Defendants are not entitled to any exemption at all under § 271(e)(1). Citing American Standard

Inc. v. Pfizer Inc., 722 F. Supp. 86, 103 (D. Del. 1989), as support, Plaintiff contends that if an

“accused infringer makes or sells products for multiple uses, at least one of which is not related to




5
 See, e.g., Dkt. 184 at 11 (citing Dkt. 184-4 (testifying valves built in the U.S. are distributed to commercial regions
such as Europe and Canada); Dkt. 184-5 (distinguishing between commercial and non-commercial sales in Dkt. 184-
6)).

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FDA approval, then the exemption under section 271(e)(10 is lost completely.” See Dkt. 184 at

14. However, the Court is not persuaded that American Standard supports Plaintiff’s argument.

        In American Standard, the defendants made accused products for both investigational and

non-investigational uses. Id. Noting no difference in the products designed for investigational uses

and those designed for non-investigational uses, the court concluded that the accused products

were not used solely for investigative purposes. American Standard, 722 F. Supp. at 103. As an

initial matter, the court in American Standard did not ultimately decide whether the accused

products made for investigational use fell within the safe harbor.6 See id. It is inherent in the court’s

analysis, however, that the safe harbor could have applied in the case of either activity. That is not

the case here, as the infringing activity alleged by Plaintiff involves Defendants’ sales overseas

from outside the District. See Dkt. 192 at 10 (“[T]he valves implanted in the E.D. Texas have

nothing to do with the valves made in Minnesota and sold overseas.”). Accordingly, the relevant

question here is not whether Defendants engaged in uses outside the District that are not “solely”

or “reasonably related” to seeking FDA approval, but rather, whether Defendants have engaged in

any such uses in this District so that venue is proper.

        Furthermore, the Court finds clear direction in Amgen that each use of a patented invention

“must be evaluated separately to determine whether the [Section 271(e)(1)] exemption applies.”

Amgen, 565 F.3d at 852; see also NeoRx Corp. v. Immunomedics, Inc., 877 F. Supp. 202, 206

(D.N.J. 1994). In NeoRx, the court applied a two-part test: “(1) whether the activity at issue is a

potentially infringing one; and (2) whether the exemption applies to that activity.” Id. There, the

court examined five activities, and concluded that some of the accused products fell within the

safe harbor, while some of them did not, even though the accused products were all the same group


6
 Furthermore, the court did not need to resolve the issue because it ultimately held the patent was invalid and
unenforceable. See American Standard, 722 F. Supp. at 152.

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of products. Id. at 204 n.1, 206, 214; cf. Classen Immunotherapies, Inc. v. Elan Pharm., Inc., 786

F.3d 892, 898 (Fed. Cir. 2015) (holding the defendant’s clinical activities and FDA submissions

fell under the safe harbor, but remanding for consideration of other, post-submission activities).

       Based on the foregoing, the Court finds all acts of infringement in the Eastern District of

Texas are solely clinical, and therefore, the § 271(e)(1) safe harbor applies despite purported non-

exempt activity in Minnesota. Since there are no material factual questions on challenged activities

remaining, summary judgment on the safe harbor issue is proper. Furthermore, no amount of

additional discovery will change that fact. See Paul Kadair, Inc. v. Sony Corp. of Am., 694 F.2d

1017, 1029-30 (5th Cir. 1983) (“[A] plaintiff’s entitlement to discovery prior to a ruling on a

motion for summary judgment is not unlimited, and may be cut off when the record shows that the

requested discovery is not likely to produce the facts needed by plaintiff. . . .”).

                      V. CONCLUSION AND RECOMMENDATION

       For the foregoing reasons, the Court recommends that Defendants’ Motion for Summary

Judgment of Improper Venue (Dkt. 178) be GRANTED. Because this recommendation renders

venue in this District deficient, the Court would have no authority to transfer the case to the District

of Minnesota. Therefore, the Court recommends the case be DISMISSED.

       Within fourteen (14) days after service of the magistrate judge’s report, any party may

serve and file written objections to the findings and recommendations of the magistrate judge. 28

U.S.C.A. § 636(b)(1)(C).

       A party is entitled to a de novo review by the district court of the findings and conclusions

contained in this report only if specific objections are made, and failure to timely file written

objections to any proposed findings, conclusions, and recommendations contained in this report

shall bar an aggrieved party from appellate review of those factual findings and legal conclusions



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    accepted by the district court, except on grounds of plain error, provided that the party has been
.   served with notice that such consequences will result from a failure to object. Id.; Thomas v. Arn,

    474 U.S. 140, 148 (1985); Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1417 (5th Cir.

    1996) (en banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1) (extending the

    time to file objections from ten to fourteen days).

             SIGNED this 7th day of March, 2018.

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                                                   ____________________________________
                                                   KIMBERLY C. PRIEST JOHNSON
                                                   UNITED STATES MAGISTRATE JUDGE




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